     Case 25-30895     Doc 22      Filed 04/04/25 Entered 04/04/25 16:04:08             Desc Main
                                    Document     Page 1 of 14



                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


 In Re:                                             CHAPTER 7 CASE
                                                    CASE NO. 25-30895
 Afnan Mohammed Husain
                                                    RESPONSE OF BRIDGECREST CREDIT
                         Debtor.                    COMPANY, LLC AS SERVICER FOR
                                                    CARVANA LLC TO EMERGENCY
                                                    MOTION
___________________________________

        The debtor moves the court for an emergency order to enforce the automatic stay, compel

immediate turnover and sanctions (“Motion”). For the reasons set forth below, the debtor’s

request is improper, misguided and must be denied.

I.      THE DEBTOR IS NOT ENTITLED TO POSSESSION OF THE VEHICLE.

        The debtor claims Bridgecrest Credit Company, LLC as servicer for Carvana LLC

(“Bridgecrest”) does not hold a perfected lien on the underlying vehicle. This is the basis for

debtor’s claim that Bridgecrest improperly repossessed the underlying vehicle and must return

the vehicle to debtor’s possession. The debtor has failed to produce any evidence or even make a

claim that she has paid the amount owed under the underlying contract. Bridgecrest has never

issued a lien release related to the underlying contract (Bridgecrest Aff. ¶ 4). The debtor has

induced the Minnesota Department of Public Safety Driver and Vehicle Services to issue a new

lien card which identifies Delani Aurora Living Trust as the first secured party and Afnan Husain

Private Bank E&T as the owner (Id. at ¶ 6). This was done without the knowledge or consent of

Bridgecrest and in violation of the underlying contract (Id. at ¶ 8). Bridgecrest has discussed this

matter with the state of Minnesota and will be working towards remediating this error in the very

near future (Id. at. ¶ 7). At the very least, the court must require the debtor to supply copies of

what documentation she submitted to the state of Minnesota in order to effectuate this fraudulent
  Case 25-30895        Doc 22     Filed 04/04/25 Entered 04/04/25 16:04:08             Desc Main
                                   Document     Page 2 of 14



change in title and lien priority status. In speaking with the state of Minnesota, counsel for

Bridgecrest was told a lien release was submitted on November 15, 2024 (Kipp Aff. ¶ 2). This

fraudulent lien release was submitted in person on Carvana letterhead and was notarized by a

Sara J. Harkins (Id. at ¶ 3). No such employee works for Carvana (Id ). Counsel for Bridgecrest

has requested the title and lien history. However, the processing of that request can take several

weeks (Id. at ¶ 4).

       The debtor is perpetrating fraud upon the state of Minnesota by submitting a forged lien

release and is perpetrating a fraud upon this Court by attempting to regain possession of the

underlying vehicle despite never paying the account in full and illegally transferring the lien and

title. Bridgecrest should not be ordered to return the vehicle when Bridgecrest has absolutely

zero adequate protection in that the debtor would now be able to sell the vehicle without notice

or payment to Bridgecrest based on the debtor’s fraudulent acts. Based on the foregoing, and in

the interest of justice, Bridgecrest respectfully requests that the court refrain from ordering return

of the vehicle to the debtor.

II.    THERE IS NO VIOLATION OF THE AUTOMATIC STAY

       The case law the debtor cites for support that the ongoing retention of the vehicle by

Bridgecrest is a violation of the automatic stay is inapposite. Each of the cases debtor cites have

been abrogated or other courts have declined to follow the rulings. One of the automatic stay’s

primary designs is “to maintain the status quo between the debtor and [his] creditors, thereby

affording the parties in the [Bankruptcy] court an opportunity to appropriately resolve competing

economic interests in an orderly and effective way.” In re Denby-Peterson, 941 F.3d 115, 126

(3rd Cir., 2019) (citing Taylor v. Slick, 178 F.3d 698, 702 (3rd Cir. 1999) (quoting Zeoli v. RIHT

Mortg. Corp., 148 B.R. 698, 700 (D.N.H 1993)). Similar to the Denby-Peterson case,
  Case 25-30895        Doc 22     Filed 04/04/25 Entered 04/04/25 16:04:08             Desc Main
                                   Document     Page 3 of 14



Bridgecrest repossessed the vehicle pre-petition and merely has possession of the vehicle at this

time. “Although the creditors exercised control over the Corvette by keeping it in their

possession after learning of the bankruptcy filing, the requisite post-petition affirmative ‘act…to

exercise control over’ the Corvette is not present in this case.” Id. (citing 11 U.S.C. §362(a)(3)).

       A creditor that retains possession of property seized pre-petition removes the debtor’s

possessory standing. “Stated in another way, interests in property that the debtor holds on the

petition date do not include possession of property held, instead, by a creditor.” In re Hall, 502

B.R. 650, 667 (Bankr. D.C. 2014). As such, Bridgecrest is under no current obligation to return

the vehicle to the debtor. This is especially true when the debtor has taken the apparent steps to

fraudulently remove Bridgecrest’s name for the title card. Requiring Bridgecrest to return the

vehicle will cause significant risk of loss to Bridgecrest. The court must deny the debtor’s

motion.

                                          CONCLUSION

       The court should deny the debtor’s motion based on the foregoing recitation of facts,

circumstances and law.



Dated: April 4, 2025                                         WILFORD GESKE & COOK, P.A.

                                                             /s/___Orin J. Kipp
                                                             Orin Kipp, #0390438
                                                             7616 Currell Blvd., Suite 200
                                                             Woodbury, MN 55125
                                                             651-209-3338
                                                             okipp@wgcnm.com
Case 25-30895   Doc 22   Filed 04/04/25 Entered 04/04/25 16:04:08   Desc Main
                          Document     Page 4 of 14
Case 25-30895   Doc 22   Filed 04/04/25 Entered 04/04/25 16:04:08   Desc Main
                          Document     Page 5 of 14
Case 25-30895   Doc 22   Filed 04/04/25 Entered 04/04/25 16:04:08   Desc Main
                          Document     Page 6 of 14
Case 25-30895   Doc 22   Filed 04/04/25 Entered 04/04/25 16:04:08   Desc Main
                          Document     Page 7 of 14
Case 25-30895   Doc 22   Filed 04/04/25 Entered 04/04/25 16:04:08   Desc Main
                          Document     Page 8 of 14
Case 25-30895   Doc 22   Filed 04/04/25 Entered 04/04/25 16:04:08   Desc Main
                          Document     Page 9 of 14
Case 25-30895   Doc 22   Filed 04/04/25 Entered 04/04/25 16:04:08   Desc Main
                         Document      Page 10 of 14
ase 25-30895   Doc 22   Filed 04/04/25 Entered 04/04/25 16:04:08   Desc Ma
                        Document      Page 11 of 14
ase 25-30895   Doc 22   Filed 04/04/25 Entered 04/04/25 16:04:08   Desc Ma
                        Document      Page 12 of 14
  Case 25-30895         Doc 22     Filed 04/04/25 Entered 04/04/25 16:04:08            Desc Main
                                   Document      Page 13 of 14



                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA


 In Re:                                              CHAPTER 7 CASE
                                                     CASE NO. 25-30895
 Afnan Mohammed Husain
                                                     AFFIDAVIT OF ORIN J. KIPP
                   Debtor.
 ___________________________________

Orin Kipp, being duly sworn, deposes and says:

   1. I am Orin Kipp, attorney for Bridgecrest Credit Company, LLC as servicer for Carvana

          LLC. I have personal knowledge of the facts stated herein upon my review of the

          underlying records and accounts in connection with this matter.

   2. On April 4, 2025 I spoke with the state of Minnesota regarding the status of the

          underlying lien records for the subject vehicle. I was told a lien release was submitted on

          November 15, 2024 in person and was printed on Carvana letterhead.

   3. The lien release was notarized by a Sara J. Harkins as a Minnesota notary. Upon

          information and belief, no such person is employed by Bridgecrest Credit Company, LLC

          or Carvana LLC.

   4. The title and lien history has been requested but that application can take several weeks

          to process.

Pursuant to Minn. Stat. § 338.116 I declare that under penalty of perjury the foregoing is true and

correct.

Dated: April 4, 2025                                   /s/ Orin J. Kipp
  Case 25-30895        Doc 22    Filed 04/04/25 Entered 04/04/25 16:04:08          Desc Main
                                 Document      Page 14 of 14



                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA

 In Re:                                            CHAPTER 7 CASE
                                                   CASE NO. 25-30895
 Afnan Mohammed Husain
                                                   UNSWORN DECLARATION FOR PROOF
                   Debtor(s).                      OF SERVICE
 ___________________________________

        James Ockwig, employed by Wilford, Geske & Cook, P.A., attorneys licensed to practice
law in this Court, with office address at 7616 Currell Boulevard, Suite 200, Woodbury, MN
55125, declares that on April 4, 2025, I served the annexed Response of Bridgecrest Credit
Company, LLC as Servicer for Carvan LC to Emergency Motion, Affidavit of Bridgcrest Credit
Company, LLC as Servicer for Carvana LLC, and Affidavit of Orin J. Kipp to each person
referenced below, a copy thereof by enclosing the same in an envelope with first class postage
prepaid and depositing same in the post office at Woodbury, Minnesota addressed to each of
them as follows:

Afnan Mohammed Husain
PO Box 4272
Mankato, MN 56002

and delivered by e-mail notification under CM/ECF on the day efiled with the Court to each of
them as follows:


Michael S. Dietz

The Office of the United States Trustee

And I declare, under penalty of perjury, that the foregoing is true and correct.

Dated: April 4, 2025

                                               /e/ James Ockwig
                                                   James Ockwig
